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FoR THE WEs'rERN DIsTRiCT oF TENNESSEE n w ,` 0 _ _
EASTERN DivisioN ”`5 "*f"' id law l‘ 59

 

UNITED STATES OF AMERICA

 

V.

RICHARD SANFORD 05cr20106-Ml

 

ORDER ON ARRAIGNMENT

 

This cause came to be heard on (’)5” l?§ ‘O“é the Unired Scates Attorney

for this district appeared on behalf of the government, and the defendant appeared in person and with
counsel:

NAME W l LU AWl AUDE@SOU Who is Retained/Appointed.

The defendant, through counsel, waived formal arraignment and entered a plea of not guilty.

All motions shall be filed within thirty (30) days from the date hereof unless, for good cause
shown to a District .Tudge, such period is extended

1/ 4 The defendant, Who is not in custody, may stand on his present bond.
The defendant, (not having made bond) (being a state prisoner) (being a federal
prisoner) (being held Without bond pursuant to BRA of 1984), is remanded to the custody

of the U.S. Marshal.
13 m @_
UNITED STATES MAGISTRATE ]UDGE

CHARGES -18:922g
firearms

Attorney assigned to Case: S. I-Iall

Age: 333

Thfs document entered on the docket ghezlgcomplianca
with sale 55 and/or sa(b) Fach on ..2“' 65

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UNITED sTATE DRISTIC COURT - WESRNTE D's'TRCT oFTENNESSEE

   

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This notice confirms a copy of the document docketed as number 12 in
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Ste. 800

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Honorable .l on McCalla
US DISTRICT COURT

